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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 Southern
 ____________________             New York
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                                 Check if this is an
                                                                                                                                                   amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                          AV Loyalty Bermuda Ltd.
                                           ______________________________________________________________________________________________________



                                            N/A
2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
     Include any assumed names,            ______________________________________________________________________________________________________
     trade names, and doing business       ______________________________________________________________________________________________________
     as names
                                           ______________________________________________________________________________________________________



3.   Debtor’s federal Employer              N/A
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            Kim Armstrong Park Place
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                            55 Par-la-ville Road
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Hamilton               Bermuda           HM11
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 https://avianca.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                        
                                           ✘ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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                                                                                                                 American LegalNet, Inc.
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Debtor
                 AV Loyalty Bermuda Ltd.
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



                                           A. Check one:
7.    Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           
                                           ✘ None of the above

                                           B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                 4 ___
                                                ___ 8 ___
                                                       1 ___
                                                          1
8.    Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                           
                                           ✘ Chapter 11. Check all that apply:
                                                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                4/01/22 and every 3 years after that).
                                                            
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            Chapter 12

9.    Were prior bankruptcy cases          
                                           ✘ No
      filed by or against the debtor
      within the last 8 years?              Yes.     District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10.   Are any bankruptcy cases              No
      pending or being filed by a                                                                                                 Affiliate
      business partner or an               
                                           ✘ Yes.             See attached Schedule 1
                                                      Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                                Southern District of New York
                                                      District _____________________________________________ When
                                                                                                                                  05/10/2020
                                                                                                                                 __________________
      List all cases. If more than 1,                                                                                            MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________


     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 2
                                                                                                                       American LegalNet, Inc.
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Debtor
                AV Loyalty Bermuda Ltd.
                _______________________________________________________                       Case number (if known)_____________________________________
                Name




11.   Why is the case filed in this      Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         
                                         ✘ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have        
                                         ✘ No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                     Other _______________________________________________________________________________



                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________          _______     ________________
                                                                            City                                             State       ZIP Code


                                                  Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________

                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




             Statistical and administrative information



13.   Debtor’s estimation of             Check one:
      available funds                    
                                         ✘ Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                            1,000-5,000                             
                                                                                                                    ✘ 25,001-50,000
14.   Estimated number of                 50-99                           5,001-10,000                             50,001-100,000
      creditors
                                          100-199                         10,001-25,000                            More than 100,000
      (on a consolidated basis)           200-999

                                          $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                    $50,001-$100,000                $10,000,001-$50 million                 
                                                                                                                    ✘ $1,000,000,001-$10 billion
      (on a consolidated basis)           $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



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Debtor
                AV Loyalty Bermuda Ltd.
                _______________________________________________________                         Case number (if known)_____________________________________
                Name



                                          $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities               $50,001-$100,000                   $10,000,001-$50 million                 
                                                                                                                       ✘ $1,000,000,001-$10 billion
      (on a consolidated basis)           $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


              Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                             petition.
      debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on _09/21/2020
                                                          __________ ______
                                                         MM / DD / YYYY


                                          /s/ Adrian Neuhauser
                                             _____________________________________________
                                                                                                         Adrian Neuhauser
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                   Authorized Signatory
                                             Title _________________________________________




18.   Signature of attorney
                                          /s/ Evan R. Fleck
                                             _____________________________________________              Date
                                                                                                                     09/21/2020
                                                                                                                     _________________
                                             Signature of attorney for debtor                                        MM    / DD / YYYY


                                             Evan R. Fleck
                                             _________________________________________________________________________________________________
                                             Printed name
                                             Milbank LLP
                                             _________________________________________________________________________________________________
                                             Firm name
                                             55                Hudson Yards
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              New York
                                             ____________________________________________________           NY
                                                                                                            ____________
                                                                                                                             10001
                                                                                                                         ______________________________
                                             City                                                           State        ZIP Code

                                             (212) 530-5000
                                             ____________________________________
                                                                                                               efleck@milbank.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address


                                             4012662                                                         NY
                                             ______________________________________________________ ____________
                                             Bar number                                             State




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                                        SCHEDULE 1

                    Pending Bankruptcy Cases Filed by the Debtor
                             and Affiliates of the Debtor

       On the date hereof, each of the entities listed below filed a voluntary petition for relief
under chapter 11 of title 11 of the United States Code in the United States Bankruptcy Court for
the Southern District of New York (the “Court”). A motion will be filed with the Court
requesting that the chapter 11 cases of these debtors and the affiliated entities identified below be
consolidated for procedural purposes only and jointly administered pursuant to Rule 1015(b) of
the Federal Rules of Bankruptcy Procedure with the Initial Debtors Cases (as hereinafter
defined).

       1. AV Loyalty Bermuda Ltd.                       2. Aviacorp Enterprises S.A.

       On May 10, 2020, each of the entities listed below filed a voluntary petition for relief
under chapter 11 of title 11 of the United States Code in the Court (the “Initial Debtors Cases”).
The Initial Debtors Cases have been consolidated for procedural purposes only and are
being jointly administered under Avianca Holdings S.A., Case Number 20-11133 (MG).

      1. Aero Transporte de Carga Unión, S.A. de        21. Avifreight Holding Mexico, S.A.P.I. de
          C.V.                                               C.V.
      2. Aeroinversiones de Honduras, S.A.              22. C.R. Int’l Enterprises, Inc.
      3. Aerovías del Continente Americano S.A.         23. Grupo Taca Holdings Limited
          Avianca                                       24. International Trade Marks Agency Inc.
      4. Airlease Holdings One Ltd.                     25. Inversiones del Caribe, S.A.
      5. America Central (Canada) Corp.                 26. Isleña de Inversiones, S.A. de C.V.
      6. America Central Corp.                          27. Latin Airways Corp.
      7. AV International Holdco S.A.                   28. Latin Logistics, LLC
      8. AV International Holdings S.A.                 29. Nicaraguense de Aviación, Sociedad
      9. AV International Investments S.A.                  Anónima (Nica, S.A.)
      10. AV International Ventures S.A.                30. Regional Express Américas S.A.S.
      11. AV Investments One Colombia S.A.S.            31. Ronair N.V.
      12. AV Investments Two Colombia S.A.S.            32. Servicio Terrestre, Aereo y Rampa S.A.
      13. AV Taca International Holdco S.A.             33. Servicios Aeroportuarios Integrados SAI
      14. Avianca Costa Rica S.A.                           S.A.S.
      15. Avianca Holdings S.A.                         34. Taca de Honduras, S.A. de C.V.
      16. Avianca Leasing, LLC                          35. Taca de México, S.A.
      17. Avianca, Inc.                                 36. Taca International Airlines S.A.
      18. Avianca-Ecuador S.A.                          37. Taca S.A.
      19. Aviaservicios, S.A.                           38. Tampa Cargo S.A.S.
      20. Aviateca, S.A.                                39. Technical and Training Services, S.A. de
                                                             C.V.



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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x
                                                                 :
In re:                                                           :   Chapter 11
                                                                 :
AV LOYALTY BERMUDA LTD.,                                         :   Case No. 20-_____(__)
                                                                 :
                                    Debtor.                      :   (Joint Administration Requested)
                                                                 :
-----------------------------------------------------------------x

               CORPORATE OWNERSHIP STATEMENT PURSUANT
        TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

following are corporations, other than a governmental unit, that directly or indirectly own 10% or

more of any class of the debtor’s equity interests:

                   Shareholder                           Approximate Percentage of Equity Interest
                                                                             Held
 AV International Holdings S.A.                                             100.0%
 AV International Investments S.A.                     Holds 100.0% of the equity interest of AV
                                                       International Holdings S.A.
 Avianca Holdings S.A.                                 Holds 100.0% of the equity interest of AV
                                                       International Investments S.A.
 Kingsland Holdings Limited                            Holds 21.9% of the equity interest of Avianca
                                                       Holdings S.A.
 BRW Aviation LLC                                      Holds 78.1% of the equity interest of Avianca
                                                       Holdings S.A.




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x
                                                                 :
In re:                                                           :   Chapter 11
                                                                 :
AV LOYALTY BERMUDA LTD.,                                         :   Case No. 20-_____ (__)
                                                                 :
                                    Debtor.                      :   (Joint Administration Requested)
                                                                 :
-----------------------------------------------------------------x

              LIST OF CREDITORS HOLDING LARGEST SECURED CLAIMS

         The following is a list of those creditors holding the largest secured claims against the

debtor, as of September 1, 2020. This list has been prepared from the books and records of the

debtor for filing in the debtor’s chapter 11 case.

         The information set forth herein shall not constitute an admission of liability by, nor is

binding on, the debtor and the failure to list a claim as contingent, disputed or subject to set off

shall not be a waiver of any of the debtor’s rights relating thereto.


                Creditor / Address                     Claim Amount         Debt Type         Description of
                                                                                               Collateral
     UMB Bank, N.A.
1    Marilee Sobieski                                 Approx.              Long Term       LifeMiles equity;
     6550 S. Millrock Drive, Suite 150                $325,000,000         Debt            credit card
     Salt Lake City, UT 84121                                                              receivables;
     Tel: 385-715-3013                                                                     fiduciary
     Email: corptrustutah@umb.com                                                          agreement
     Marilee.Sobieski@umb.com
     UMB Bank, N.A.
2    Marilee Sobieski                                 Approx.              Notes           LifeMiles equity;
     6550 S. Millrock Drive, Suite 150                $50,000,000                          credit card
     Salt Lake City, UT 84121                                                              receivables;
     Tel: 385-715-3013                                                                     fiduciary
     Email: corptrustutah@umb.com                                                          agreement
     Marilee.Sobieski@umb.com

     c/o Citadel Advisors LLC
     601 Lexington Avenue



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         Creditor / Address           Claim Amount   Debt Type     Description of
                                                                    Collateral
 New York, NY 10022
 Attn: Jonathan Hartofilis
 Email: Jon.Hartofilis@citadel.com
 CitadelAgreementNotice@citadel.com




                                       2
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                                                              Pg 9 of 18
 Fill in this information to identify the case and this filing:


              AV Loyalty Bermuda Ltd.
 Debtor Name __________________________________________________________________
                                         Southern
 United States Bankruptcy Court for the: ______________________             New York
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule ____


         ✔
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         ✔
               Other document that requires a
                                              Corporate Ownership Statement, Top Secured Creditors                        List
               declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     09/21/2020
        Executed on ____ __________                        8 /s/ Adrian Neuhauser
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Adrian Neuhauser
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Authorized Signatory
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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      Fill in this information to identify the case:

      Debtor name AV Loyalty Bermuda Ltd.
      United States Bankruptcy Court for the: __Southern_______ District of New York
                                                                                   (State)                                        Check if this is an
      Case number (If known):                                                                      .                               amended filing




    Official Form 204

    Chapter 11: List of Creditors Who Have the 40 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                               12/15

    A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include
    claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim
    resulting from inadequate collateral value places the creditor among the holders of the 40 largest unsecured claims.


                                                                                                                                             Amount of unsecured claim
                                                                                          Nature of the                               If the claim is fully unsecured, fill in only
                                                                                               claim                                unsecured claim amount. If claim is partially
                                                                                          (for example,            Indicate if          secured, fill in total claim amount and
Name of creditor and
                                        Name, telephone number, and                            trade                claim is        deduction for value of collateral or setoff to
      complete
                                          email address of creditor                     debts, bank loans,        contingent,                 calculate unsecured claim.
  mailing address,
                                                   contact                                 professional          unliquidated,
 including zip code                                                                                                                Total claim,      Deduction         Unsecured
                                                                                          services, and           or disputed
                                                                                                                                        if               for             claim
                                                                                           government
                                                                                                                                    partially         value of
                                                                                            contracts)
                                                                                                                                     secured        collateral or
                                                                                                                                                       setoff
1        No known
         creditors


2




3




4




5




6




7




    Official Form 204                          Chapter 11 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims
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         AV LOYALTY BERMUDA LTD.                           AV LOYALTY BERMUDA LTD.
      being a company incorporated under the           siendo una compañía incorporada bajo las
                 laws of Bermuda                                  leyes de las Bermudas
      with company registration number 54496             con el número de registro de la empresa
                 (the "Company")                                           54496
                                                                     (la "Compañía")
   UNANIMOUS WRITTEN RESOLUTIONS
     OF THE SOLE DIRECTOR OF THE                       LAS RESOLUCIONES ESCRITAS A
   COMPANY PASSED IN ACCORDANCE                       CONTINUACIÓN SON UNÁNIMES DEL
      WITH THE BYE-LAWS OF THE                        DIRECTOR ÚNICO DE LA COMPAÑÍA
              COMPANY                                 APROBADAS DE ACUERDO CON LOS
                                                         ESTATUTOS DE LA COMPAÑÍA
   The undersigned, representing the sole director
   (the "Sole Director") of the Company, acting       El abajo firmante, en representación del director
   by written consent without a meeting ADOPTS        único (el "Director Único") de la Compañía,
   the following resolutions set out below in         actuando por consentimiento escrito y sin
   accordance with Bye-law 119 of the Company's       reunión, ADOPTA los siguientes acuerdos que
   bye-laws.                                          se exponen a continuación, de conformidad con
                                                      el artículo 119 de los estatutos de la Compañía.
   The effective date of these resolutions shall be
   the date on which the authorised                   La fecha de entrada en vigor de estos acuerdos
   representative(s) of the sole Director signs the   será la fecha en que el representante o
   same. These Written Resolutions shall be           representantes autorizados del Director Único
   inserted into the Company's minute book.           firmen los mismos. Estos acuerdos escritos se
                                                      insertarán en el libro de actas de la Compañía.

            WHEREAS, the Company is an                       CONSIDERANDO que la Compañía es
   indirect wholly-owned subsidiary of Avianca        una subsidiaria indirecta de propiedad absoluta
   Holdings S.A. (the "Parent") and the Parent is     de Avianca Holdings S.A. (la "Matriz") y que
   the sole Director of the Company;                  la Matriz es el único Director de la Compañía;
            .
            WHEREAS, on May 10, 2020, the                     CONSIDERANDO que, el 10 de mayo
   Parent and certain affiliates filed a voluntary    de 2020 la Matriz y ciertas afiliadas realizaron
   petition for relief under Chapter 11 of Title 11   una petición voluntaria buscando alivio bajo el
   of the United States Code (the “Bankruptcy         Capítulo 11 del Título 11 del Código de los
   Code”) and commenced a case (the “Chapter          Estados Unidos (el “Código”) y comenzaron un
   11 Case”) under the provisions of the              proceso (el “Caso de Capítulo 11”), de
   Bankruptcy Code before the U.S. Bankruptcy         conformidad con lo previsto en el Código, ante
   Court for the Southern District of New York        el Tribunal de Bancarrota del Distrito Sur de
   (the “Bankruptcy Court”), with the approval        Nueva York (la “Corte”), con la aprobación de
   of the Parent's Board of Directors;                la Junta Directiva de la Matriz;

           WHEREAS, The Parent reviewed with                  CONSIDERANDO que, la Junta
   its management and legal and financial advisors    Directiva de la Matriz consultó con sus
   regarding debtor-in-possession credit market       administradores y asesores legales financieros,
   conditions and the strategic alternatives          sobre las condiciones de mercado respecto a
   available to it;                                   préstamos bajo la modalidad de deudor en
                                                      posesión y las posibles estrategias disponibles;



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          WHEREAS that the Parent acting in its                 CONSIDERANDO que la Matriz
  capacity as Sole Director of the Company              actuando en su capacidad de único Director de
  reviewed with its management and the legal and        la Compañía, consultó con sus administradores
  financial advisors of the Parent and its affiliates   y asesores legales y financieros, sobre las
  regarding the liabilities and liquidity of            obligaciones y la liquidez de Aviacorp
  Aviacorp Enterprises, S.A. (“Aviacorp”) and           Enterprises, S.A. (“Aviacorp”) y la Compañía
  the Company, the strategic alternatives               las posibles estrategias disponibles para estas
  available to them, and the impact of the              entidades, y el impacto de lo anterior en los
  foregoing on the Company’s business;                  negocios de la Compañía.


           WHEREAS, the Sole Director believes                  CONSIDERANDO que, el Director
  that taking the actions set forth below is in the     Único considera que el tomar las acciones
  best interests of both the shareholder and the        descritas a continuación se hace en el mejor
  creditors of the Company and its affiliates and,      interés de la Compañía y sus afiliadas, y, por
  therefore, desires to approve the following           consiguiente, considera necesario aprobar las
  resolutions.                                          siguientes decisiones.

  Debtor-in-Possession Financing                        Financiación como Deudor en Posesión

          NOW, THEREFORE, BE IT                                  TENIENDO EN CUENTA LO
  RESOLVED, that in connection with the                 ANTERIOR, SE RESUELVE, que con
  Chapter 11 Case, it is in the best interest of both   relación al Caso de Capítulo 11, es en el mejor
  the shareholder and the creditors of the              interés de la Compañía la suscripción, y que la
  Company to engage in, and the Company will            Compañía obtendrá beneficios, de las
  obtain benefits from, the lending transactions        transacciones de financiación bajo cierto
  under that certain super-priority debtor-in-          préstamo a término como deudor en posesión
  possession term loan (the “DIP Financing”) to         sujeto a superprioridad (la “Financiación
  be evidenced by that certain super-priority           DIP”) a ser formalizado mediante cierto
  debtor-in-possession term loan agreement, note        contrato de préstamo a término como deudor en
  purchase agreement,          collateral     agency    posesión sujeto a superprioridad, contrato de
  agreement and, if applicable, an indenture,           compra de títulos, acuerdo de agencia de
  substantially in terms informed to the Sole           colateral y, de ser aplicable, contrato de emisión
  Director (each together with the exhibits and         de títulos, sustancialmente en el en los términos
  schedules attached thereto, the “DIP                  informados a l Director único(cada uno de ellos,
  Agreements”) to be entered into by the Parent,        junto con los anexos y apéndices adjuntos a los
  as borrower, and Aero Transporte de Carga             mismos, los “Acuerdos DIP”) a ser suscritos
  Unión, S.A. de C.V., Aeroinversiones de               por Avianca Holdings S.A., como deudor, y
  Honduras, S.A., Aerovías del Continente               Aero Transporte de Carga Unión, S.A. de C.V.,
  Americano S.A. Avianca, Airlease Holdings             Aeroinversiones de Honduras, S.A., Aerovías
  One Ltd., America Central (Canada) Corp.,             del Continente Americano S.A. Avianca,
  America Central Corp., AV International               Airlease Holdings One Ltd., America Central
  Holdco S.A., AV International Holdings S.A.,          (Canada) Corp., America Central Corp., AV
  AV International Investments S.A., AV                 International Holdco S.A., AV International
  International Ventures S.A., AV Investments           Holdings S.A., AV International Investments
  One Colombia S.A.S., AV Investments Two               S.A., AV International Ventures S.A., AV
  Colombia S.A.S., AV Taca International                Investments One Colombia S.A.S., AV
  Holdco S.A., Avianca Costa Rica S.A., Avianca         Investments Two Colombia S.A.S., AV Taca
  Leasing, LLC, Avianca, Inc., Avianca-Ecuador          International Holdco S.A., Avianca Costa Rica
  S.A., Aviaservicios, S.A., Aviateca, S.A.,            S.A., Avianca Leasing, LLC, Avianca, Inc.,
  Avifreight Holding Mexico, S.A.P.I. de C.V.,          Avianca-Ecuador S.A., Aviaservicios, S.A.,
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  C.R. Int’l Enterprises, Inc., Grupo Taca         Aviateca, S.A., Avifreight Holding Mexico,
  Holdings Limited, International Trade Marks      S.A.P.I. de C.V., C.R. Int’l Enterprises, Inc.,
  Agency Inc., Inversiones del Caribe, S.A.,       Grupo Taca Holdings Limited, International
  Isleña de Inversiones, S.A. de C.V., Latin       Trade Marks Agency Inc., Inversiones del
  Airways Corp., Latin Logistics, LLC,             Caribe, S.A., Isleña de Inversiones, S.A. de
  Nicaraguense de Aviación, Sociedad Anónima       C.V., Latin Airways Corp., Latin Logistics,
  (Nica, S.A.), Regional Express Américas          LLC, Nicaraguense de Aviación, Sociedad
  S.A.S., Ronair N.V., Servicio Terrestre, Aereo   Anónima (Nica, S.A.), Regional Express
  y Rampa S.A., Servicios Aeroportuarios           Américas S.A.S., Ronair N.V., Servicio
  Integrados SAI S.A.S., Taca de Honduras, S.A.    Terrestre, Aereo y Rampa S.A., Servicios
  de C.V., Taca de México, S.A., Taca              Aeroportuarios Integrados SAI S.A.S., Taca de
  International Airlines S.A., Taca S.A., Tampa    Honduras, S.A. de C.V., Taca de México, S.A.,
  Cargo S.A.S., Technical and Training Services,   Taca International Airlines S.A., Taca S.A.,
  S.A. de C.V., Aviacorp Enterprises, S.A. and     Tampa Cargo S.A.S., Technical and Training
  the Company, as guarantors (collectively, the    Services, S.A. de C.V., Aviacorp Enterprises,
  “Avianca Companies”), JPMorgan Chase             S.A. y AV Loyalty Bermuda Ltd., como
  Bank, N.A, as administrative and collateral      garantes (en conjunto, las “Compañías
  agent (in such capacity, the “DIP Agent”), any   Avianca”), JPMorgan Chase Bank, N.A, como
  local collateral agent party thereto, and the    agente administrativo y de colateral (en dicha
  lenders from time to time party thereto (the     capacidad, el “Agente DIP”), cualquier agente
  “DIP Lenders”), subject to approval by the       de colateral local parte del mismo, y los
  Bankruptcy Court, which is necessary and         prestamistas parte de dicho contrato de tiempo
  appropriate to the conduct, promotion, and       en tiempo (los “Prestamistas DIP”), sujeto a la
  attainment of the business of the Avianca        aprobación de los mismos por parte de la Corte
  Companies.                                       de Bancarrota, cuya suscripción es necesaria y
                                                   apropiada a efectos de conducir, promover y
           RESOLVED FURTHER, that the avanzar los negocios de las Compañías
  form, terms, and provisions of each of any and Avianca.
  all of the other agreements to which the
  Company is a party, including, without                    ADICIONALMENTE RESUELVE,
  limitation,    certificates,  documents      and que el formato, los términos y las cláusulas de
  instruments authorized, executed, delivered, todos y cada uno de los acuerdos de los que es
  reaffirmed, verified and/or filed in connection parte la Compañía, incluyendo, sin limitación,
  with the DIP Financing (together with the DIP certificados, documentos e instrumentos
  Agreements, collectively, the “DIP Financing autorizados, suscritos, entregados, reafirmados,
  Documents”), and the Company’s performance verificados y/o radicados con relación a la
  of its respective obligations thereunder, Financiación DIP (junto con los Acuerdos DIP,
  including any guarantees and the granting of en conjunto denominados los “Documentos de
  security interests contemplated thereunder, are la Financiación DIP”), y el cumplimiento de
  hereby, in all respects confirmed, ratified and las obligaciones de la Compañía bajo los
  approved.                                        mismos, incluyendo el otorgamiento de
                                                   cualquier garantía y derecho de garantía real
           RESOLVED FURTHER, that any contemplado en los mismos, sean por el
  officer of the Parent and any person authorized presente y a todo efecto aquí confirmados,
  by any officer of the Parent (including, without ratificados y aprobados.
  limitation, Anko van der Werff, Renato Covelo,
  Adrian Neuhauser, and Richard Galindo) (each,             ADICIONALMENTE RESUELVE,
  an “Authorized Person” and collectively, the que cualquier administrador de la Matriz y
  “Authorized Persons”), or any agent or cualquier persona autorizada por cualquier
  attorney-in-fact of the Company authorized by administrador de la Matriz (incluyendo, sin
  any Authorized Person, be, and each of them limitación, a Anco van der Werff, Renato
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  individually hereby is, authorized, empowered,       Covelo, Adrian Neuhauser y Richard Galindo)
  and directed, in the name and on behalf of the       (cada uno, una “Persona Autorizada”, y
  Sole Director of the Company, to cause the           colectivamente, las “Personas Autorizados”) o
  Company to prepare, execute and deliver the          cualquier agente o apoderado de la Compañía
  DIP Financing Documents to which the                 autorizado por cualquier Persona Autorizada,
  Company is a party, in the name and on behalf        está y, por ende, cada uno de manera individual
  of the Company under its corporate seal or           se encuentra, autorizado, apoderado y facultado
  otherwise, and such other documents,                 para actuar en calidad de representante
  agreements, instruments, and certificates as may     autorizado de la Compañía, a causar que la
  be required by the DIP Agent or required by the      Compañía prepare, celebre y entregue los
  DIP Financing Documents.                             Documentos de la Financiación DIP de los que
                                                       es parte la Compañía, en nombre y por cuenta
           RESOLVED FURTHER, that the                  de la Compañía bajo su sello societario o de
  Company is authorized to guarantee, as               cualquier otra manera, y aquellos documentos,
  applicable, any obligations of any party to the      acuerdos, instrumentos y certificados que
  DIP Financing Documents and undertake any            puedan ser requeridos por el Agente DIP o por
  and all related transactions contemplated under      los Documentos de la Financiación DIP.
  the DIP Financing Documents, including any
  guarantees and the granting of security interests             ADICIONALMENTE RESUELVE,
  thereunder. Moreover, the Company is                 que la Compañía se encuentra autorizada para
  authorized to execute or amend any trust             garantizar, de ser aplicable, cualesquiera
  agreement in order to transfer any kind of asset     obligaciones de cualquier parte a los
  or funds flow to secure all of the obligations       Documentos de la Financiación DIP y a llevar a
  under the DIP Financing Documents. The               cabo todas y cada una de las transacciones
  Company is also authorized to amend any              contempladas en los Documentos de la
  existing security agreement in order to secure all   Financiación DIP, incluyendo el otorgamiento
  of the obligations under the DIP Financing           de cualquier garantía y derecho de garantía real
  Documents. The Company is authorized to              y/o garantía personal contemplado en los
  execute any guarantee agreement over movable         mismos. Así mismo, la Compañía podrá
  assets, including but not limited to, share pledge   constituir fiducias mercantiles en garantía para
  agreements, trademarks pledge agreements,            transferir cualquier clase de activo o flujo que
  fiduciary rights pledge agreements, checking or      sirva de garantía para el cumplimiento de las
  savings      accounts     control     agreements,    obligaciones bajo los Documentos de la
  conditional assignment of residual payment           Financiación DIP, o podrá modificar cualquiera
  rights agreements, or any other pledge               existente para cumplir con dicha finalidad. La
  agreement over the assets of the Company. The        Compañía también podrá modificar cualquier
  Company is also authorized to amend any              contrato de garantías existente con el propósito
  existing pledge agreement over the assets of the     de que los mismos garanticen las obligaciones
  Company.                                             bajo los Documentos de la Financiación DIP. La
                                                       Compañía podrá suscribir cualquier contrato de
            RESOLVED FURTHER, that any                 garantía mobiliaria incluyendo, pero sin
  Authorized Person, or any agent or attorney-in-      limitarse, a contratos de prenda sobre acciones,
  fact of the Company authorized by any                contratos de prenda sobre marcas, contratos de
  Authorized Person, is hereby authorized to           prenda sobre derechos fiduciarios, contratos de
  guarantee and grant security interests in, and       control de cuentas bancarias corrientes o de
  liens on, any and all property of the Company as     ahorros, contratos de cesión condicional de
  collateral pursuant to the DIP Financing             derechos de pagos residuales, o cualquier otra
  Documents to secure all of the obligations and       contrato de prenda sobre activos de la
  liabilities of the Company thereunder and the        Compañía, o modificar cualquier contrato de
  other parties to the DIP Financing Documents to      prenda sobre activos de la Compañía existente.
  the DIP Lenders and the DIP Agent, and to
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  authorize, execute, verify, file and/or deliver to           ADICIONALMENTE RESUELVE,
  the DIP Agent, on behalf of the Company, all         que cualquier Persona Autorizada, o cualquier
  agreements, documents and instruments                agente o apoderado de la Compañía autorizado
  required by the DIP Agent and/or the DIP             por cualquier Persona Autorizada, se encuentra
  Lenders in connection with the foregoing.            autorizado por el presente para otorgar garantías
                                                       y derechos de garantía real respecto, y
           RESOLVED FURTHER, that any                  gravámenes sobre, toda y cualquier propiedad
  Authorized Person, or any agent or attorney-in-      de la Compañía como colateral de conformidad
  fact of the Company authorized by any                con los Documentos de la Financiación DIP
  Authorized Person, is hereby authorized,             para garantizar todas las obligaciones y adeudos
  empowered, and directed, in the name and on          de la Compañía y de las demás partes de los
  behalf of the Company, to take all such further      Documentos de la Financiación DIP a favor de
  actions, including to pay all fees and expenses,     los Prestamistas DIP y el Agente DIP, y para
  in accordance with the terms of the DIP              autorizar, suscribir, verificar, radicar y/o
  Financing Documents, which shall, in such            entregar al Agente DIP, en nombre de la
  Authorized Person’s sole judgment, be                Compañía, todos los acuerdos, documentos e
  necessary, proper, or advisable to perform such      instrumentos requeridos por el Agente DIP y/o
  Company’s obligations under or in connection         los Prestamistas DIP con relación a los
  with the DIP Financing Documents and the             documentos antedichos.
  transactions contemplated therein and to carry
  out fully the intent of the foregoing resolutions.            ADICIONALMENTE RESUELVE,
                                                       que cualquier Persona Autorizada, o cualquier
          RESOLVED FURTHER, that any                   agente o apoderado de la Compañía autorizado
  Authorized Person, or any agent or attorney-in-      por cualquier Persona Autorizada, se encuentra
  fact of the Company authorized by any                autorizado, apoderado y facultado, en nombre y
  Authorized Person, is hereby authorized,             por cuenta de la Compañía, a llevar a cabo
  empowered, and directed, in the name and on          cualquier acto adicional, incluyendo el pago de
  behalf of the Company, to execute and deliver        honorarios y gastos, conforme a los términos de
  any amendments, supplements, modifications,          los Documentos de la Financiación DIP, que
  renewals,     replacements,      consolidations,     sean, a exclusivo criterio de la Persona
  substitutions and extensions of the DIP              Autorizada,       necesarios,    apropiados    o
  Financing Documents, which shall, in such            aconsejables para que la Compañía desempeñe
  Authorized Person’s sole judgment, be                sus obligaciones bajo o con relación a los
  necessary, desirable, proper or advisable.           Documentos de la Financiación DIP y a las
                                                       transacciones contempladas en los mismos, y a
  Commencement of Chapter 11 Cases                     realizar los actos necesarios de conformidad con
                                                       el espíritu de las resoluciones precedentes.
           RESOLVED FURTHER, that the
                                                            ADICIONALMENTE RESUELVE,
  Sole Director be, and hereby is, authorized and
                                                    que cualquier Persona Autorizada, o cualquier
  empowered on behalf of the Company, to file a
                                                    agente o apoderado de la Compañía autorizado
  voluntary petition for relief under Chapter 11 of
                                                    por cualquier Persona Autorizada, se encuentra
  the Bankruptcy Code in the Bankruptcy Court.
                                                    autorizado, apoderado y facultado, en nombre y
                                                    por cuenta de la Compañía, a suscribir y
           RESOLVED FURTHER, having
                                                    entregar cualesquiera enmiendas, suplementos,
  taken substantive legal advice and considered
                                                    modificaciones, renovaciones, reemplazos,
  the information made available to it by the
                                                    consolidaciones, sustituciones y extensiones de
  Parent's Board of Directors, the Company's Sole
                                                    los Documentos de la Financiación DIP que
  Director, is satisfied that the Company has met
                                                    sean, a exclusivo criterio de la Persona
  all applicable requirements under New York
                                                    Autorizada, necesarios, deseables, apropiados o
  law in connection with the proposed voluntary
                                                    aconsejables.
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  petition for relief under Chapter 11 of the
  Bankruptcy Code in the Bankruptcy Court and             Inicio de los Casos de Capítulo 11
  after due consideration has determined that it is
  desirable and in the best interests of both the                 ADICIONALMENTE RESUELVE,
  shareholder and the creditors of the Company            que el Director Único se encuentra, autorizado
  that a request to submit a voluntary application        con poder suficiente para radicar una solicitud
  for benefits under Chapter 11 of the Bankruptcy         voluntaria de alivio bajo el Capítulo 11 del
  Code is raised for the Company.                         Código de Insolvencia ante la Corte de
                                                          Insolvencia.
           RESOLVED FURTHER, that any
  Authorized Person, or any agent or attorney-in-                  ADICIONALMENTE RESUELVE,
  fact of the Company authorized by any                   que tras haber recibido asesoramiento jurídico
  Authorized Person, be, and each of them                 sustantivo y haber considerado la información
  individually hereby is, authorized, in the name         puesta a disposición por la Junta Directiva de la
  and on behalf of the Company, appointed as the          Matriz, el Director Único de la Compañía a
  Company’s authorized representatives, and in            determinado que es aconsejable y en el mejor
  such capacity, acting alone or together, with           interés de la Compañía la presentación de una
  power of delegation, be, and they hereby are,           solicitud voluntaria de alivio bajo el Capítulo 11
  authorized and empowered to execute and file            del Código de Insolvencia respecto a AV
  on behalf of the Company, including in the              Loyalty Bermuda.
  Company’s capacity as shareholder or member
  of its subsidiaries, all petitions, schedules, lists,           ADICIONALMENTE RESUELVE,
  applications, pleadings and other motions,              que cualquier Persona Autorizada, o cualquier
  papers, agreements, consents or documents, and          agente o apoderado de la Compañía autorizado
  to take any and all action that they deem               por cualquier Persona Autorizada, sea y, por
  necessary or proper to obtain such relief,              ende, cada uno de manera individual se
  including, without limitation, any action               encuentra, autorizado para actuar en calidad de
  necessary to maintain the ordinary course               representante autorizado de la Compañía, y en
  operation of the Company’s businesses..                 tal capacidad, actuando de manera conjunta o
                                                          separada, con la facultad de delegar sus
  General                                                 funciones, es y por medio de la presente está
                                                          autorizado y tiene capacidad suficiente para
           RESOLVED FURTHER, that in                      suscribir y radicar en nombre de la Compañía,
  addition to the specific authorizations                 incluso si la Compañía está actuando como
  heretofore conferred upon the Authorized                accionista o miembro de una de sus subsidiarias,
  Persons, each of the Authorized Persons, or any         todas las peticiones, anexos, listas, solicitudes,
  agent or attorney-in-fact of the Company                aplicaciones, súplicas, demás actuaciones,
  authorized by any Authorized Person be, and             acuerdos, consentimientos y documentos, y
  each of them individually is hereby authorized          además está autorizado para realizar
  and empowered, in the name of and on behalf of          cualesquiera y todas las acciones que considere
  the Company, to take or cause to be taken any           necesarias o correctas para lograr el alivio
  and all such other and further action, and to           anteriormente mencionado, incluyendo, sin
  execute, acknowledge, deliver and file, or cause        limitación alguna, el poder para tomar cualquier
  to be executed, acknowledged, delivered and             acción necesaria para mantener el curso
  filed, any and all such agreements, certificates,       ordinario de los negocios de la Compañía
  instruments and other documents and to pay all
  expenses, including but not limited to, General
  representing and voting shares of subsidiaries of
  the Company, filing fees, in each case as in such     ADICIONALMENTE RESUELVE,
  person’s or persons’ judgment, shall be que en adición a todas las autorizaciones
  necessary, advisable or desirable in order to anteriormente concedidas a las Personas
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  fully carry out the intent and accomplish the       Autorizadas, cada Persona Autorizada, o
  purposes of the resolutions adopted herein (as      cualquier agente o apoderado de la Compañía
  conclusively evidenced by the taking of such        autorizado por cualquier Persona Autorizada
  action, or the execution and delivery of such       sea, y por la presente se encuentra autorizado, y
  instruments and documents, as the case may be),     con poder suficiente, para que en nombre y
  and all action heretofore taken by such persons     representación de la Compañía, tome u ordene
  and in connection with the foregoing recitals       la toma de cualquier acción y para suscribir,
  and resolutions be, and it hereby is, approved,     reconocer, entregar y radicar, o a causar que se
  ratified and confirmed in all respects as the act   suscriba, reconozca, entregue y radique,
  and deed of the Company, it being understood        cualquier acuerdo o acuerdos, certificados,
  that any such actions undertaken prior to the       instrumentos y otros documentos, además de
  date hereof by any officer of the Company, the      pagar todos los gastos, incluyendo pero no
  Authorized Persons, or any agent or attorney-in-    estando limitado a, la representación y votación
  fact of the Company authorized by any               de las acciones de propiedad de la Compañía en
  Authorized Person, in connection with the           sus subsidiarias, el pago de las tasas o tarifas de
  foregoing, are hereby duly ratified.                presentación o radicación, todo lo anterior
                                                      cuando de acuerdo al criterio de cada
          RESOLVED FURTHER, that the                  Funcionario/Persona Autorizado sea necesario,
  Sole Director has received sufficient notice of     recomendable o deseable para lograr el
  the actions and transactions relating to the        propósito de las decisiones aquí adoptadas
  matters by the foregoing resolutions, as may be     (evidenciadas de manera concluyente mediante
  required by the organizational documents of the     la adopción de dichos actos, o la suscripción y
  Company, or has hereby waived any right to          entrega de dichos instrumentos y documentos,
  have received such notice.                          según sea el caso), y todo acto previo adoptado
                                                      por dichas personas y con relación a los
           RESOLVED FURTHER, that all acts,           considerandos y resoluciones precedentes sea, y
  actions and transactions relating to the matters    por la presente se encuentra aprobado, ratificado
  contemplated by the foregoing resolutions done      y confirmado en todo especto como un acto de
  in the name of and on behalf of the Company,        la Compañía, entendiéndose que cualesquiera
  which acts would have been approved by the          dichos actos llevados a cabo con antelación a la
  foregoing resolutions except that such acts were    fecha del presente por cualquier funcionario de
  taken before the adoption of these resolutions,     la Compañía, las Personas Autorizadas, o
  are hereby in all respects approved and ratified    cualquier agente u apoderado de la Compañía
  as the true acts and deeds of the Company with      autorizado por cualquier Persona Autorizada,
  the same force and effect as if each such act,      con relación a las transacciones enumeradas
  transaction, agreement or certificate had been      precedentemente, son ratificados por el
  specifically authorized in advance by resolution    presente.
  by the Sole Director.
                                                              ADICIONALMENTE RESUELVE,
          RESOLVED FURTHER, that these                que el Director Único ha recibido aviso
  resolutions may be executed and delivered in        suficiente sobre las acciones y transacciones
  multiple counterparts and via facsimile or other    relacionadas con las decisiones aquí tomadas,
  electronic means, all of which taken together       tal como lo requieren los documentos
  shall constitute one and the same instrument.       corporativos de la Compañía, de lo contrario
                                                      mediante el presente documento renuncian a
                                                      cualquier derecho de notificación.

                                                              ADICIONALMENTE RESUELVE,
                                                      que todas las actuaciones, acciones y
                                                      transacciones relacionadas con las decisiones
                                                      realizadas en nombre y representación de la
20-12255-mg        Doc 1     Filed 09/21/20 Entered 09/21/20 23:04:07              Main Document
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                                                 Compañía, han sido aprobados por medio de las
  WHEREOF, the undersigned has executed          decisiones y resoluciones anteriores, con
  and approved these Resolutions, on the date    excepción de las actuaciones que hayan sido
  indicated alongside the name set out below:    llevadas a cabo antes de la adopción de esta
                                                 resolución, las cuales se entienden en todo caso
                                                 aquí aprobadas y ratificadas como actos ciertos
                                                 y vinculantes para la Compañía, como si dicho
   ____________________________________          acuerdo, transacción, acuerdo o certificado
   Name: Richard Galindo                         hubiera sido autorizado previamente a través de
                                                 una resolución por la Director Único.
   Title: Secretary of the Parent
                                                         ADICIONALMENTE RESUELVE,
                                                 que estas resoluciones podrán ser firmadas en
   Authorized Person, acting for and on behalf   múltiples contrapartes y vía facsímile o
   of Avianca Holdings S.A.                      cualquier otro medio electrónico, todas las
   Sole Director                                 cuales, consideradas en su conjunto, se
                                                 entenderán como un único instrumento.
   Dated: September 10, 2020                            ADICIONALMENTE,            el  abajo
                                                 firmante ha ejecutado y aprobado estas
                                                 Resoluciones, en la fecha indicada junto al
                                                 nombre que figura a continuación:




                                                  ___________________________________
                                                  Nombre: Richard Galindo

                                                  Cargo: Secretario de la Matriz

                                                  Persona Autorizada, actuando en
                                                  representación de Avianca Holdings S.A.
                                                  Director Único

                                                  Fecha: 10 de septiembre de 2020
